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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


CASIO COMPUTER CO., LTD.,

        Plaintiff,
                                                     Case No. 23-cv-15750
v.
                                                     Judge Charles P. Kocoras
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

        Defendants.


                           PRELIMINARY INJUNCTION ORDER

        THIS CAUSE being before the Court on CASIO COMPUTER CO., LTD.’s Motion for a

Preliminary Injunction, and this Court having considered the evidence before it hereby GRANTS

Plaintiff’s Motion for Entry of a Preliminary Injunction in its entirety against Defendant Nos. 1-

104 as identified in Schedule A attached hereto (collectively, the “Defendants”).

        THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants

since the Defendants directly target their business activities toward consumers in the United

States, including Illinois. Specifically, Defendants are reaching out to do business with Illinois

residents by operating one or more commercial, interactive Internet Stores through which Illinois

residents can purchase products bearing infringing and/or counterfeit versions of Plaintiff’s

CASIO TRADEMARKS and DESIGNS (the “CASIO Products”).

        THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this



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litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure 65.    Evidence submitted in support of this Motion and in support of Plaintiff’s

previously granted Motion for a Temporary Restraining Order establishes that Plaintiff has a

likelihood of success on the merits; that no remedy at law exists; and that Plaintiff will suffer

irreparable harm if the injunction is not granted.

        Specifically, Plaintiff has made a prima facie showing of trademark and design patent

infringement because (1) the CASIO TRADEMARKS and DESIGNS are distinctive marks and

designs and are registered with the U.S. Patent and Trademark Office ((U.S. Registration No.

1,041,284 for word mark “CASIO”; Nos. 1,399,344; 4,956,583; 5,517,268; and 6,187,175 for

word mark “G-SHOCK”) (U.S. Design Patent Nos. D619,909; D658,081; D663,222; D685,666;

D724,447; D733,578; D733,602; D742,252; D742,253; D742,763; D776,550; D807,201;

D807,202; D817,193; and D820,117)), (2) Defendants are not licensed or authorized to use the

CASIO TRADEMARKS and DESIGNS, and (3) Defendants’ use of the CASIO TRADEMARKS

and DESIGNS are causing a likelihood of confusion as to the origin or sponsorship of Defendants’

products with CASIO COMPUTER CO., LTD..                  Furthermore, Defendants’ continued and

unauthorized use of the CASIO TRADEMARKS and DESIGNS irreparably harms Plaintiff

through diminished goodwill and brand confidence, damage to Plaintiff’s reputation, loss of

exclusivity, and loss of future sales. Monetary damages fail to address such damage and,

therefore, Plaintiff has an inadequate remedy at law. Moreover, the public interest is served by

entry of this Preliminary Injunction to dispel the public confusion created by Defendants’ actions.

        Accordingly, this Court ORDERS that:

1.      Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

        for, with, by, through, under or in active concert with them be enjoined and restrained from:


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    a. using Plaintiff's CASIO TRADEMARKS and DESIGNS or any confusingly

        similar reproductions, counterfeit copies or colorable imitations thereof in any

        manner in connection with the distribution, marketing, advertising, offering for

        sale, or sale of any product that is not a genuine CASIO Product or is not

        authorized by Plaintiff to be sold in connection with Plaintiff's CASIO

        TRADEMARKS and DESIGNS;

   b.   passing off, inducing, or enabling others to sell or pass off any product as a

        genuine CASIO Product or other product produced by Plaintiff, that is not

        Plaintiff's or is not produced under the authorization, control or supervision of

        Plaintiff and approved by Plaintiff for sale under Plaintiff's CASIO

        TRADEMARKS and DESIGNS;

   c.   committing any acts calculated to cause consumers to believe that Defendants'

        products are those sold under the authorization, control or supervision of

        Plaintiff, or are sponsored by, approved by, or otherwise connected with

        Plaintiff;

   d.   further infringing Plaintiff's CASIO TRADEMARKS and DESIGNS and

        damaging Plaintiff's goodwill;

   e.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

        distributing, returning, or otherwise disposing of, in any manner, products or

        inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be

        sold or offered for sale, and which bear Plaintiff's CASIO TRADEMARKS and

        DESIGNS or any confusingly similar reproductions, counterfeit copies or

        colorable imitations thereof; and


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        f.   using, linking to, transferring, selling, exercising control over, or otherwise

             owning the Online Marketplace Accounts or any other online marketplace

             account that is being used to sell Counterfeit CASIO Products.

2.      Those in privity with Defendants and with actual notice of this Order, including any online

        marketplaces such as iOffer, DHgate.com (“DHgate”), eBay.com (“eBay”), Fruugo.com

        (“Fruugo”), Joom.com (“Joom”), Payoneer.com (“Payoneer”), PayPal.com (“Payoneer”),

        Walmart.com (“Walmart”), social media platforms, Facebook, YouTube, LinkedIn,

        Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts for the

        Defendant Online Marketplace Accounts, and domain name registrars, shall within three

        (3) business days of receipt of this Order:

             a. disable and cease providing services for any accounts through which

                Defendants engage in the sale of counterfeit and infringing goods using the

                CASIO TRADEMARKS and DESIGNS, including any accounts

                associated with the Defendants listed in Schedule A; and

             b. disable and cease displaying any advertisements used by or associated with

                Defendants in connection with the sale of counterfeit and infringing goods

                using the CASIO TRADEMARKS and DESIGNS.

3.      Defendants and any persons in active concert or participation with them who have actual

        notice of this Order shall be restrained and enjoined from transferring or disposing of any

        money or other of Defendants' assets until further ordered by this Court.

4.      DHgate shall, within five (5) business days of receipt of this Order, for any Defendant or

        any of Defendants' Online Marketplace Accounts or websites:




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           a. Locate all accounts and funds connected to Defendants, Defendants' Online

               Marketplace Accounts or Defendants' websites, including, but not limited to, any

               DHgate accounts connected to the information listed in Schedule A hereto; and

           b. Restrain and enjoin any such accounts or funds from transferring or disposing of

               any money or other of Defendants' assets until further ordered by this Court.


5.      eBay shall, within five (5) business days of receipt of this Order, for any Defendant or any

        of Defendants' Online Marketplace Accounts or websites:

           a. Locate all accounts and funds connected to Defendants, Defendants' Online

               Marketplace Accounts or Defendants' websites, including, but not limited to, any

               eBay accounts connected to the information listed in Schedule A hereto; and

           b. Restrain and enjoin any such accounts or funds from transferring or disposing of

               any money or other of Defendants' assets until further ordered by this Court.


6.      Fruugo shall, within five (5) business days of receipt of this Order, for any Defendant or

        any of Defendants' Online Marketplace Accounts or websites:

           a. Locate all accounts and funds connected to Defendants, Defendants' Online

               Marketplace Accounts or Defendants' websites, including, but not limited to, any

               Fruugo accounts connected to the information listed in Schedule A hereto; and

           b. Restrain and enjoin any such accounts or funds from transferring or disposing of

               any money or other of Defendants' assets until further ordered by this Court.


7.      Joom shall, within five (5) business days of receipt of this Order, for any Defendant or any

        of Defendants' Online Marketplace Accounts or websites:




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            a. Locate all accounts and funds connected to Defendants, Defendants' Online

                Marketplace Accounts or Defendants' websites, including, but not limited to, any

                Joom accounts connected to the information listed in Schedule A hereto; and

            b. Restrain and enjoin any such accounts or funds from transferring or disposing of

                any money or other of Defendants' assets until further ordered by this Court.


8.       Payoneer shall, within five (5) business days of receipt of this Order, for any Defendant or

         any of Defendants' Online Marketplace Accounts or websites:

            a. Locate all accounts and funds connected to Defendants, Defendants' Online

                Marketplace Accounts or Defendants' websites, including, but not limited to, any

                Payoneer accounts connected to the information listed in Schedule A hereto; and

            b. Restrain and enjoin any such accounts or funds from transferring or disposing of

                any money or other of Defendants' assets until further ordered by this Court.


9.       PayPal shall, within five (5) business days of receipt of this Order, for any Defendant or

         any of Defendants' Online Marketplace Accounts or websites:

            a. Locate all accounts and funds connected to Defendants, Defendants' Online

                Marketplace Accounts or Defendants' websites, including, but not limited to, any

                PayPal accounts connected to the information listed in Schedule A hereto; and

            b. Restrain and enjoin any such accounts or funds from transferring or disposing of

                any money or other of Defendants' assets until further ordered by this Court.


10.      Walmart shall, within five (5) business days of receipt of this Order, for any Defendant or

         any of Defendants' Online Marketplace Accounts or websites:




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            a. Locate all accounts and funds connected to Defendants, Defendants' Online

                Marketplace Accounts or Defendants' websites, including, but not limited to, any

                Walmart accounts connected to the information listed in Schedule A hereto; and

            b. Restrain and enjoin any such accounts or funds from transferring or disposing of

                any money or other of Defendants' assets until further ordered by this Court.


11.      Plaintiff may provide notice of these proceedings to Defendants, including notice

         of any future hearings and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by

         electronically publishing a link to the Complaint, this Order and other relevant documents

         on a website, or by sending an e-mail to the e-mail addresses identified in Exhibit 3 to the

         Declaration of Hideyuki Kiuchi and any e-mail addresses provided for Defendants by third

         parties that includes a link to said website. The combination of providing notice via

         electronic publication or e-mail, along with any notice that Defendants receive from

         domain name registrars and payment processors, shall constitute notice reasonably

         calculated under all circumstances to apprise Defendants of the pendency of the action and

         afford them the opportunity to present their objections.

12.      Plaintiff's Schedule A to the Complaint and the TRO are unsealed.

13.      Any Defendants that are subject to this Order may appear and move to dissolve or modify

         the Order on two days' notice to Plaintiff or on shorter notice as set by this Court.


Dated: December 14, 2023


                                        _____________________________________
                                        The Honorable Charles P. Kocoras
                                        U.S. District Judge



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                                    SCHEDULE A

No.   Defendant Name / Alias
 1     annapza
 2     auto-topmotor
 3     autosuper-parts
 4     beautifullife88
 5     chadil4609
 6     honestdeal99_us
 7     pj-online
 8     skybestshop20-de
 9     wsstore_3
10     Shenzhen Diliberto Technology Co., Ltd.
11     Shenzhen Imoon Technology Co., Ltd.
12     Shenzhen Weige Technology Co., Ltd.
13     4hotseason
14     88bar
15     aarontoolsstore
16     ain-2805
17     aomeitbest
18     asb*
19     bacevici75
20     baodeal
21     best-shop25
22     ch_463664
23     chathkos-0
24     cooshow
25     coua3327
26     dealsbest
27     dealstate
28     fanmiaomiao_mall
29     flybuy695
30     geekthink3c
31     geekthinkhalo
32     geekthinkmelody
33     geekthinktop
34     homefuturebest
35     hope*happy
36     idsel_52
37     karunarathn45
38     lahiru_official98
39     liorab_store
40     mercado.mundo-jpn
41     mobile_spirit
42     nura_stores
43     oberywaitnow
44     pathma_kingstore
45     peiriscollection

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46     poshmart41
47     rajapakshagekumarara0
48     shacor-9215
49     shasha_bingo
50     shedab4
51     shiniaoduo
52     shtqa-0
53     spushipping
54     sr_online_store
55     starstar007
56     tharakadper_0
57     thebestock
58     thisjaya_0
59     utopiachoices
60     vevexiao
61     volboris
62     watch_band_store
63     yngdgg
64     yy8543
65     zhuk12
66     zy-tech-wow
67     amband
68     SUNSET CUSTOM
69     Guangzhou Jiahe Department Store Supplies Firm
70     beautifulyouss
71     clothing193 Store
72     cp5i Store
73     detu Store
74     diorfashionjewelry Store
75     dn0j Store
76     e9in Store
77     gingermilkk Store
78     gwof Store
79     hh0e Store
80     ijewelry8 Store
81     jubaiyuan8 Store
82     lakc Store
83     lpy8588 Store
84     ltnp Store
85     mfol Store
86     mkn2 Store
87     mm8n Store
88     ouyz Store
89     pegc Store
90     phs1 Store
91     pojg5872 Store
92     qc9y Store
93     qvgq Store

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 94     shangguanxin Store
 95     topclone_watch Store
 96     torvburcn Store
 97     vo1m Store
 98     watchwatch935 Store
 99     worldsrichest
100     yswp Store
101     yuxuanhengbrother Store
102     Skmei Offical Store
103     De Xing Yang Store
104     Fanhongtan




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